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             8                                   UNITED STATES DISTRICT COURT
             9                                 CENTRAL DISTRICT OF CALIFORNIA
            10
                 JONATHAN D. ROSE, M.D., PH.D.,                Case No. CV11-07838 DDP (AJWx)
            11   an individual,
                                                               ORDER FOR DISMISSAL AFTER
            12                           Plaintiff,            SETTLEMENT
            13         v.
                                                               Judge: Honorable Dean D. Pregerson
            14   MICHAEL ENRIQUEZ, an individual,
                 JESUS ENRIQUEZ, an individual,
            15   MPD MANAGEMENT, INC., a
                 Nevada corporation dba LHOP                          CLOSED
            16   CONSULTING, KIM MIZUNO, an
                 individual, and DOES 1-10, inclusive,
            17
                                         Defendants.
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            22              The Court, having read and considered the Stipulated Request for Dismissal
            23   After Settlement (“Stipulation”) filed by Plaintiff Jonathan D. Rose, M.D., Ph.D. (“Dr.
            24   Rose”) and Defendants Michael Enriquez, Jesus Enriquez, Kim Mizuno, and MPD
            25   Management, Inc. dba LHOP Consulting, and finding good cause for the granting
            26   thereof, hereby ORDERS that:
            27   ///
            28   ///


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                                                                               CASE NO. CV11-7838-DDP (AJWX)
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             1            1.       The Stipulation is granted in full;
             2            2.       That this action is dismissed without prejudice as to Defendant Michael
             3   Enriquez, with this Court to retain jurisdiction to enforce the terms of the settlement
             4   reached between the parties, as needed, and pursuant to California Code of Civil
             5   Procedure § 664.6;
             6            3.       That this action is dismissed without prejudice as to Defendant Jesus
             7   Enriquez;
             8            4.       That this action is dismissed without prejudice as to Defendant MPD
             9   Management, Inc. doing business as LHOP Consulting;
            10            5.       That this action is dismissed with prejudice as to Defendant Kim
            11   Mizuno.
            12   IT IS SO ORDERED
            13   Dated: April 30, 2012
            14
                                                        By:_________________________________
                                                               The Honorable Dean D. Pregerson
            15                                                        U.S. District Judge
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                                                                                 CASE NO. CV11-7838-DDP (AJWX)
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[PROPOSED] ORDER FOR DISMISSAL AFTER SETTLEMENT.DOCX
